Case 3:17-cv-00072-NKM-JCH Document 1316 Filed 10/25/21 Page 1 of 2 Pageid#: 22143




                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

                                CIVIL MINUTES – JURY TRIAL
                                              Day One


   Case No.: 3:17CV72                  Date: 10/25/2021

     Elizabeth Sines, et al                        Counsel: Roberta Kaplan, Karen Dunn, Alan
     Plaintiff(s)                                  Levine, Ramond Tolentino, Giovanni Sanchez,
                                                   William Issacson, David Mills , Jessica Phillips,
                                                   Michael Bloch, Renato Stabile
     v.

     Jason, Kessler, et al
                                                   Counsel: James Kolenich, David Campbell,
     Defendant(s)                                  Joshua Smith, Bryan Jones, William Rebrook,
                                                   Richard Spencer pro se, Christopher Cantwell, pro
                                                   se

                                                   Dillon Hopper, pro se by Zoom




   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:30-
   9:45=15min; 10:00-11:25=1hr 25min; 11:30-1:00=1hr 30min; 2:10-3:00=50min; 3:10-
   3:35=25min; 3:45-6:00=2hrs 15min; 6:10-6:45=35min Total 7hrs 5 min
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                      LIST OF WITNESSES

       PLAINTIFF                                        DEFENDANT
     1.                                            1.



   PROCEEDINGS:
           12 jurors in Panel One, 14 Jurors on Panel Two present and sworn on Voir Dire
           5 jurors struck for cause and excused by Court in Panel One. 8 jurors struck for Cause
   and excused by Court in Panel Two
           3 jurors struck by Plaintiff in Panel One, No jurors struck by Plaintiff in Panel Two.
           1 juror struck by Defendants in Panel One. 1 juror struck by Defendants in Panel Two.
           3 Jurors selected from Panel One. 5 possible Jurors selected from Panel Two. Remaining
   jurors discharged.
   Additional Information:

   Motion addressed re: Severance of Defendant Cantwell. Mr. Cantwell opposes request. Ms.
   Kaplan responds.
Case 3:17-cv-00072-NKM-JCH Document 1316 Filed 10/25/21 Page 2 of 2 Pageid#: 22144




   Motion denied.


   Jury selection process begins. Each panel sworn the brought into the courtroom one juror at a
   time for questions.

   Court resumes with further jury selection tomorrow at 9:00 a.m.
